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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
CHICAGO

MICHAEL MCNULTY, )
) Case No. 1:19-cv-7496-JZL

Plaintiff, )

)

Vv. )

)

INTERNAL REVENUE SERVICE, )

)

Defendant. )

)

DECLARATION OF ROBERT H. BLEY
I, ROBERT H. BLEY, pursuant to the provisions of 28 U.S.C. § 1746(2) declare as
follows:

1. lama law clerk! in Branch 7 within the Office of Associate Chief Counsel for Procedure
& Administration (P&A), a national office practice group within the Internal Revenue
Service’s Office of Chief Counsel in Washington, D.C. I have been employed by the
Internal Revenue Service (IRS) since September, 2019. As part of my official duties, I
am responsible for assisting the Department of Justice with the IRS’ views on defending
against claims made pursuant to the Freedom of Information Act, 5 U.S.C. § 552 (FOIA).
These duties require that I have knowledge of the procedures and requirements for

making FOIA requests.

'T am recently admitted to the State Bar of Virginia and am currently a licensed attorney. My official title at the
IRS Chief Counsel’s office is currently “Law Clerk,” but will switch to “General Attorney” once the IRS
Administrative Office has processed my forms from the State Bar of Virginia showing I am a Jicensed attorney in
Virginia.
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2. On November 13, 2019, Michael McNulty (Plaintiff) filed a civil Complaint against the
IRS. He subsequently amended his complaint to include exhibits. In his Complaint,
Plaintiff states he sent a FOIA request to the IRS on February 27, 2019. He has attached
his FOIA request as Exhibit A.

3. Plaintiff's Complaint includes several other exhibits: Exhibit B, IRS Letter to McNulty,
Request for Additional Extension of Time; Exhibit C, IRS Response to FOIA Request;
Exhibit D, William B. McNulty, Jr.’s Offer in Compromise; Exhibit E, IRS Acceptance of
Offer in Compromise; and Exhibit F, Notice of Federal Tax Lien Filing and Your Right to
a Hearing Under IRC 6320.

4. On December 17, 2019 this case was assigned to me.

Plaintiffs FOIA Request

5. Inhis FOIA request, Plaintiff requested three categories of records for tax years 2005
through 2018: (1) All notes of correspondence between Michael C. McNulty, William B.
McNulty Jr., and James Malone; (2) all notes of correspondence between Curtiss Ross
and the IRS; and (3) all notes of correspondence having anything to do with William B.
MeNulty for the requested tax years. (See, Plaintiffs Exhibit A, FOIA Request, and
Plaintiff's Exhibit C, JRS Response to FOIA Request.)

6. On June 4, 2019, the IRS responded to Plaintiff's FOIA request providing 606 pages of
records pertaining to Plaintiff’s first and third requests. The IRS found no responsive
records pertaining to Plaintiff's second request. (See, Plaintiff's Exhibit C, IRS Response

to FOIA Request.)
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The IRS indicated to Plaintiff it was withholding six pages in part and one page in full
pursuant to FOJA Exemptions (b)(3) and (b)(5). (See, Plaintiff's Exhibit C, JRS Response
to FOIA Request.)

The IRS Response to Plaintiff included the following paragraph,:

You have the right to file an administrative appeal within 90 days of the
date of this letter. By filing an appeal, you preserve your rights under
FOIA and give the agency a chance to review and reconsider your request
and the agency’s decision. I’ve enclosed Notice 393, Information on an
IRS Determination to Withhold Records Exempt from the Freedom of
Information Act — 5 U.S.C. § 552, to explain your appeal rights.

The Internal Revenue Service did not receive an Administrative Appeal from Plaintiff

9.

10.

11.

12.

On February 20, 2020, I emailed Denise Higley, a Government Information Specialist in
the IRS’s Disclosure Office, informing her that the IRS was served with a FOIA
Complaint filed by Michael McNulty and asking for information about the Plaintiff's
FOIA request.

On February 20, 2020, Denise Higley responded with an email stating that she searched
the Disclosure Office’s Automated Freedom of Information Act (AFOIJA) system and did
not find any records of the Plaintiff filing a FOIA appeal.

The Automated Freedom of Information Act (AFOIA) system is the IRS’s computerized
database which is used to maintain FOIA case file information and secure documents
responsive to FOIA requests. Data is retrievable in AFOIA by the requester’s name, case
number, case name, and tax identification number (Social Security number for
individuals).

On February 13, 2020, I emailed Theresa Carillo, an Appeals Officer in the IRS’s FOIA
Appeals Office, informing her that the IRS was served with a FOIA Complaint filed by

Michael McNulty and asking for information about the Plaintiff's FOIA request.
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13. On February 13, 2020, Theresa Carrillo responded with an email stating that she searched
the Appeals Offices’ Appeals Centralized Database System (ACDS) using the Plaintiffs
name and FOIA request number and did not find any records of a FOIA appeal case for
the Plaintiff.

14. The ACDS is the IRS’s computerized case control system used to track cases throughout
the appeal process. The ACDS contains any and all records relating to an appeal of a
FOIA determination. Data is retrievable in the ACDS system by requester’s name, tax
identification number (Social Security number for individuals), and FOIA request
number.

15. The procedure for submitting FOIA requests and FOIA appeals to the IRS is publicly
available. See, e.g., https://www.irs.gov/privacy-disclosure/freedom-of-information-act-

foia-guidelines.

I declare under penalty of perjury and pursuant to 28 U.S.C. § 1746 that the foregoing is true and

correct.

Executed on FF e I rUalr f ZO , 2020, in Washington, D.C.

VCR
ROBERT H. BLEY
Office of Chief Counsel
Procedure and Administration
Internal Revenue Service

